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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

DONNA L. GRIFFIN, as the            )
Administrator of the Estate of      )
Merelyn L. Underwood, deceased;     )
and DONNA L. GRIFFIN,               )
ANGELA MOORE, PERRY                 )
UNDERWOOD, and ALLEN                )
UNDERWOOD as the surviving          ) Civil Action File
children of Merelyn L.              ) No. ______________
Underwood, deceased,                )
                                    )
      Plaintiffs,                   )
                                    )
v.                                  )
                                    )
US NATIONAL, INC.,                  )
MICHAEL CONNER, and                 )
CANAL INSURANCE                     )
COMPANY,                            )
                                    )
      Defendants.                   )


                        NOTICE OF REMOVAL

      COME NOW Defendants U.S. NATIONAL, INC., and CANAL

INSURANCE COMPANY and timely file this Notice of Removal pursuant

to 28 U.S.C. §1332, 28 U.S.C. §1441, and 28 U.S.C. §90(a)(2) removing the

above-captioned civil action from the State Court of Rockdale County, State

of Georgia (Civil Action File No. 2021-SV-2525) to the United States


                                   –1–
     Case 1:21-cv-02823-MHC Document 1 Filed 07/15/21 Page 2 of 32




District Court for the Northern District of Georgia, Atlanta Division, and in

support thereof, the Defendants aver as follows:

                                     1.

      On June 21, 2021, the Plaintiffs filed a Complaint for Wrongful Death

(“Complaint”) in the State Court of Rockdale County, Georgia, styled

Donna L. Griffin, as the Administrator of the Estate of Merelyn L.

Underwood, deceased; and Donna L. Griffin, Angela Moore, Perry

Underwood, and Allen Underwood as the surviving children of Merelyn L.

Underwood deceased, Plaintiffs, vs. US National, Inc., Michael Conner and

Canal Insurance Company, Defendants, being Civil Action File No. 2021-

SV-2525. True and correct copies of the Plaintiff’s Complaint and Summons

and Affidavits of Service on Defendants U.S. National, Inc., and Canal

Insurance Company are attached hereto collectively as Exhibit “A.”

                                     2.

      Defendant Canal Insurance Company was served with the Complaint

and Summons on June 23, 2021. Defendant U.S. National was served with

the Complaint and Summons on June 23, 2021. No other proof of service

has been filed so these Defendants do not know whether Defendant Conner

has been served as of this date.


                                    –2–
    Case 1:21-cv-02823-MHC Document 1 Filed 07/15/21 Page 3 of 32




                                      3.

      This civil action is for wrongful death by the decedent’s heirs and a

claim by the Estate of Merelyn L. Underwood for other personal injuries and

damages that survived by the decedent’s death allegedly arising from a

motor vehicle accident that occurred on November 7, 2018, in Rockdale

County, Georgia.

                                      4.

      Defendant Canal Insurance Company is a South Carolina corporation

with its principal place of business in Greenville, SC; Defendant U.S.

National, Inc., is an Arkansas corporation with its principal place of business

in Van Buren, AR; Defendant Conners is an individual who, upon

information and believe, resides in either Arkansas or Oklahoma.

                                      5.

      The Plaintiffs are residents of and domiciled in either the State of

Georgia or the State of Alabama (Complaint, ¶ 4).

                                      6.

      This court has diversity jurisdiction under 28 U.S.C. §1332 since the

Plaintiffs are citizens of and are domiciled in the State of Georgia or the

State of Alabama and the Defendants are citizens of the State of Arkansas


                                    –3–
       Case 1:21-cv-02823-MHC Document 1 Filed 07/15/21 Page 4 of 32




(Defendants Canal and U.S. National, Inc.), or Oklahoma (Defendant

Conner). Moreover, the amount at issue exceeds $75,000.00 so diversity

jurisdiction exists in this civil action.

                                            7.

        This Notice of Removal is being filed within thirty (30) days of

service of the Summons and a copy of the Complaint upon Defendants U.S.

National, Inc., and Canal Insurance Company as required by 28 U.S.C.

§1446(b).

                                            8.

        All Defendants consent and agree to this Notice of Removal and the

Defendants have not sought similar relief with respect to this matter.

                                            9.

        All fees required by law in connection with this Notice of Removal

have been paid by Defendants. A copy of the Notice of Filing Notice of

Removal which will be filed in the State Court of Rockdale County,

Georgia, on the date of this Notice of Removal is attached hereto as Exhibit

“B”.




                                        –4–
    Case 1:21-cv-02823-MHC Document 1 Filed 07/15/21 Page 5 of 32




                                     10.

      The allegations of this Notice are true and correct, the case is

currently pending in Rockdale County, a county within the jurisdiction of

the United States District Court for the Northern District of Georgia, Atlanta

Division, and this cause is properly removable to the United States District

Court for the Northern District of Georgia, Atlanta Division. Thus, venue is

currently proper in the Atlanta Division of this Court pursuant to 28 U.S.C.

§90 (a)(2). However, the Defendants contend that venue in the State Court

of Rockdale County is improper and that the proper venue would have been

Carroll County, Georgia, where the subject accident occurred. Accordingly,

the Defendants contend that this civil action should be transferred to the

Newnan Division after removal.

      WHEREFORE, Defendants U.S. NATIONAL, INC., and CANAL

INSURANCE COMPANY hereby remove this case pending against them in

the State Court of Rockdale County, State of Georgia, to the United States

District Court for the Northern District of Georgia, Atlanta Division.




                                    –5–
    Case 1:21-cv-02823-MHC Document 1 Filed 07/15/21 Page 6 of 32




     This 15th day of July 2021.

                                   AUSTIN & SPARKS, P.C.

                                   By: /s/John B. Austin
                                      John B. Austin
                                      Georgia Bar No. 028814
                                      Attorneys for Defendants

2974 Lookout Place
Suite 200
Atlanta, Georgia 30305-3272
(404) 869-0100
jaustin@austinsparks.com

                     LR 7.1D, NDGa CERTIFICATION

     Pursuant to LR 7.1D, NDGa, this is to certify that this brief has been

prepared using Times New Roman 14 pt. font which is one of the fonts

approved in LR 5.1C, NDGa.




                                   –6–
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           EXHIBIT A
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                        Case 1:21-cv-02823-MHC Document 1 Filed 07/15/21 Page 20 of 32   Rockdale County State Court
                                                                                                      e-Filed Record




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           EXHIBIT B
     Case 1:21-cv-02823-MHC Document 1 Filed 07/15/21 Page 22 of 32




                     IN THE STATE COURT OF ROCKDALE COUNTY
                                STATE OF GEORGIA

DONNA L. GRIFFIN, as the                   )
Administrator of the Estate of Merelyn     )
L. Underwood, deceased; and DONNA          )
L. GRIFFIN, ANGELA MOORE,                  )
PERRY UNDERWOOD, and ALLEN                 )
UNDERWOOD as the surviving                 )
children of Merelyn L. Underwood,          )   Civil Action File
deceased,                                  )   No. 2021-SV-2525
                                           )
       Plaintiffs,                         )
                                           )
v.                                         )
                                           )
US NATIONAL, INC., MICHAEL                 )
CONNER and CANAL INSURANCE                 )
COMPANY,                                   )
                                           )
       Defendants.                         )


                                NOTICE OF FILING
                               NOTICE OF REMOVAL

       Notice is hereby given on this date that Defendants U.S. NATIONAL, INC., and

CANAL INSURANCE COMPANY timely filed in the United States District Court for

the Northern District of Georgia, Atlanta Division, a Notice of Removal of the above-

captioned action from the State Court of Rockdale County, State of Georgia, pursuant to

28 U.S.C. §1332, 28 U.S.C. §1441, and 28 U.S.C. §90(a)(2). Pursuant to 28 U.S.C.

§1446(d), this Court is respectfully requested to proceed no further, unless and until such

time as the action may be remanded by order of the United States District Court. A copy

of the Notice of Removal without exhibits is appended hereto and served herewith as

Exhibit “1.”
    Case 1:21-cv-02823-MHC Document 1 Filed 07/15/21 Page 23 of 32




      This 15th day of July 2021.

                                    AUSTIN & SPARKS, P.C.

                                    By: /s/John B. Austin
                                        John B. Austin
                                        Georgia Bar No. 028814
                                        Attorneys for Defendants

2974 Lookout Place
Suite 200
Atlanta, Georgia 30305-3272
(404) 869-0100
jaustin@austinsparks.com
Case 1:21-cv-02823-MHC Document 1 Filed 07/15/21 Page 24 of 32




            EXHIBIT 1
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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

DONNA L. GRIFFIN, as the            )
Administrator of the Estate of      )
Merelyn L. Underwood, deceased;     )
and DONNA L. GRIFFIN,               )
ANGELA MOORE, PERRY                 )
UNDERWOOD, and ALLEN                )
UNDERWOOD as the surviving          ) Civil Action File
children of Merelyn L.              ) No. ______________
Underwood, deceased,                )
                                    )
      Plaintiffs,                   )
                                    )
v.                                  )
                                    )
US NATIONAL, INC.,                  )
MICHAEL CONNER, and                 )
CANAL INSURANCE                     )
COMPANY,                            )
                                    )
      Defendants.                   )


                        NOTICE OF REMOVAL

      COME NOW Defendants U.S. NATIONAL, INC., and CANAL

INSURANCE COMPANY and timely file this Notice of Removal pursuant

to 28 U.S.C. §1332, 28 U.S.C. §1441, and 28 U.S.C. §90(a)(2) removing the

above-captioned civil action from the State Court of Rockdale County, State

of Georgia (Civil Action File No. 2021-SV-2525) to the United States


                                   –1–
    Case 1:21-cv-02823-MHC Document 1 Filed 07/15/21 Page 26 of 32




District Court for the Northern District of Georgia, Atlanta Division, and in

support thereof, the Defendants aver as follows:

                                     1.

      On June 21, 2021, the Plaintiffs filed a Complaint for Wrongful Death

(“Complaint”) in the State Court of Rockdale County, Georgia, styled

Donna L. Griffin, as the Administrator of the Estate of Merelyn L.

Underwood, deceased; and Donna L. Griffin, Angela Moore, Perry

Underwood, and Allen Underwood as the surviving children of Merelyn L.

Underwood deceased, Plaintiffs, vs. US National, Inc., Michael Conner and

Canal Insurance Company, Defendants, being Civil Action File No. 2021-

SV-2525. True and correct copies of the Plaintiff’s Complaint and Summons

and Affidavits of Service on Defendant U.S. National, Inc., and Canal

Insurance Company are attached hereto collectively as Exhibit “A.”

                                     2.

      Defendant Canal Insurance Company was served with the Complaint

and Summons on June 23, 2021. Defendant U.S. National was served with

the Complaint and Summons on June 23, 2021. No other proof of service

has been filed so these Defendants do not know whether Defendant Conner

has been served as of this date.


                                    –2–
    Case 1:21-cv-02823-MHC Document 1 Filed 07/15/21 Page 27 of 32




                                      3.

      This civil action is for wrongful death by the decedent’s heirs and a

claim by the Estate of Merelyn L. Underwood for other personal injuries and

damages that survived by the decedent’s death allegedly arising from a

motor vehicle accident that occurred on November 7, 2018, in Rockdale

County, Georgia.

                                      4.

      Defendant Canal Insurance Company is a South Carolina corporation

with its principal place of business in Greenville, SC; Defendant U.S.

National, Inc., is an Arkansas corporation with its principal place of business

in Van Buren, AR; Defendant Conners is an individual who, upon

information and believe, resides in either Arkansas or Oklahoma.

                                      5.

      The Plaintiffs are residents of and domiciled in either the State of

Georgia or the State of Alabama (Complaint, ¶ 4).

                                      6.

      This court has diversity jurisdiction under 28 U.S.C. §1332 since the

Plaintiffs are citizens of and are domiciled in the State of Georgia or the

State of Alabama and the Defendants are citizens of the State of Arkansas


                                    –3–
    Case 1:21-cv-02823-MHC Document 1 Filed 07/15/21 Page 28 of 32




(Defendants Canal and U.S. National, Inc.), or Oklahoma (Defendant

Conner). Moreover, the amount at issue exceeds $75,000.00 so diversity

jurisdiction exists in this civil action.

                                            7.

       This Notice of Removal is being filed within thirty (30) days of

service of the Summons and a copy of the Complaint upon Defendants U.S.

National, Inc., and Canal Insurance Company as required by 28 U.S.C.

§1446(b).

                                            8.

       All Defendants consent and agree to this Notice of Removal and the

Defendants have not sought similar relief with respect to this matter.

                                            9.

       All fees required by law in connection with this Notice of Removal

have been paid by Defendants. A copy of the Notice of Filing Notice of

Removal which will be filed in the State Court of Rockdale County,

Georgia, on the date of this Notice of Removal is attached hereto as Exhibit

“B”.




                                        –4–
    Case 1:21-cv-02823-MHC Document 1 Filed 07/15/21 Page 29 of 32




                                     10.

      The allegations of this Notice are true and correct, the case is

currently pending in Rockdale County, a county within the jurisdiction of

the United States District Court for the Northern District of Georgia, Atlanta

Division, and this cause is properly removable to the United States District

Court for the Northern District of Georgia, Atlanta Division. Thus, venue is

currently proper in the Atlanta Division of this Court pursuant to 28 U.S.C.

§90 (a)(2). However, the Defendants contend that venue in the State Court

of Rockdale County is improper and that the proper venue would have been

Carroll County, Georgia, where the subject accident occurred. Accordingly,

the Defendants contend that this civil action should be transferred to the

Newnan Division after removal.

      WHEREFORE, Defendants U.S. NATIONAL, INC., and CANAL

INSURANCE COMPANY hereby remove this case pending against them in

the State Court of Rockdale County, State of Georgia, to the United States

District Court for the Northern District of Georgia, Atlanta Division.




                                    –5–
   Case 1:21-cv-02823-MHC Document 1 Filed 07/15/21 Page 30 of 32




     This 15th day of July 2021.

                                   AUSTIN & SPARKS, P.C.

                                   By: /s/John B. Austin
                                      John B. Austin
                                      Georgia Bar No. 028814
                                      Attorneys for Defendants

2974 Lookout Place
Suite 200
Atlanta, Georgia 30305-3272
(404) 869-0100
jaustin@austinsparks.com

                     LR 7.1D, NDGa CERTIFICATION

     Pursuant to LR 7.1D, NDGa, this is to certify that this brief has been

prepared using Times New Roman 14 pt. font which is one of the fonts

approved in LR 5.1C, NDGa.




                                   –6–
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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

DONNA L. GRIFFIN, as the  )
Administrator of the Estate of
                          )
Merelyn L. Underwood, deceased;
                          )
and DONNA L. GRIFFIN,     )
ANGELA MOORE, PERRY       )
UNDERWOOD, and ALLEN      )
UNDERWOOD as the surviving) Civil Action File
children of Merelyn L.    ) No. ______________
Underwood, deceased,      )
                          )
    Plaintiffs,           )
                          )
v.                        )
                          )
US NATIONAL, INC.,        )
MICHAEL CONNER, and       )
CANAL INSURANCE           )
COMPANY,                  )
                          )
    Defendants.           )
                CERTIFICATE OF SERVICE

      I hereby certify that I have this day served a true and correct copy of

Notice of Removal to counsel of record listed below via electronic mail

through ECF, and that ECF will send an e-notice of the electronic filing to

the following:

      David M. Lewis, Esq.
      Deming, Parker, Hoffman, Campbell & Daly, LLC
      2200 Century Parkway NE, Suite 800
      Atlanta, Georgia 30345
      lewisd@deminglaw.com
   Case 1:21-cv-02823-MHC Document 1 Filed 07/15/21 Page 32 of 32




     Respectfully submitted this 15th day of July 2021.

                              AUSTIN & SPARKS, P.C.

                              By: /s/John B. Austin
                                     John B. Austin
                                     Georgia Bar No. 028814
                                     Attorneys for Defendants

2974 Lookout Place
Suite 200
Atlanta, Georgia 30305-3272
(404) 869-0100 - Office
(404) 869-0200 - Facsimile
jaustin@austinsparks.com
